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                                          CORRECTED

            In the United States Court of Federal Claims
                                           No. 08-195T

                                    (Filed: February 25, 2011)

                                      )   Corporate tax case; capitalization of imputed interest
DOMINION RESOURCES,                   )   on the basis of property temporarily removed from
INC.,                                 )   service that otherwise would be used for the produc-
                                      )   tion of income, which temporary removal occurs in
                       Plaintiff,     )   connection with the installation or construction of a
                                      )   capitalized improvement to the income-producing
       v.                             )   property; validity of Treas. Reg. § 1.263A-11(e)(1)
                                      )   (ii)(B); Section 702(2)(A) of the Administrative
UNITED STATES,                        )   Procedure Act; application of the “substantial
                                      )   variance” doctrine to preclude consideration of
                       Defendant.     )   the retroactivity of Treas. Reg. § 1.263A-11(e)(2);
                                      )   alleged mistake in settlement agreement



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                                     OPINION AND ORDER

LETTOW, Judge.

        This case presents an issue of first impression concerning the validity and application of
the Treasury Department’s associated-property rule for capitalizing interest on a taxpayer’s
installation or construction of improvements or additions to property used to generate income.
The associated-property rule relates to property temporarily removed from service in connection
with the installation or addition of an improvement, and, in effect, requires the capitalized cost of
the improvement to include both direct expenditures for the improvement and imputed interest
on the basis of the property temporarily removed from service, for the time of that removal.

       The plaintiff, Dominion Resources, Inc. (“Dominion” or “Dominion Resources”), is a
Virginia corporation whose primary business is providing electric power and natural gas to
individual and commercial customers. Stipulation of Facts (“Stipulation” or “Stip.”) ¶¶ 13, 14.
In 1996, a Dominion subsidiary replaced certain burners in two of its electric generating plants,
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one located in Virginia and the other located in West Virginia, and had to temporarily remove
the generating units from service in the process of making the replacement. Stip. ¶¶ 15-19, 42-
46. Under 26 U.S.C. (“I.R.C.”) § 263A and its accompanying regulations, Dominion had to treat
at least some of the costs of those improvements as capital expenditures rather than as amounts
deductible from its 1996 income.

        Subsection 263A(f) also required Dominion to capitalize interest on debt directly and
indirectly related to the plants’ improvements. Subparagraph 263A(f)(2)(A) establishes
allocation rules for such capitalization of interest. The first such allocation rule provides that
“interest on any indebtedness directly attributable to production expenditures with respect to
such property shall be assigned to such property.” I.R.C. § 263A(f)(2)(A)(i). Application of that
direct-attribution rule is not in dispute. The second allocation rule, however, provides that
“interest on any other indebtedness shall be assigned to such property to the extent that the
taxpayer’s interest costs could have been reduced if production expenditures (not attributable to
indebtedness described in clause (i)) had not been incurred.” I.R.C. § 263A(f)(2)(A)(ii). This
indirect-attribution rule is the statutory crux of this case.

        The “associated-property rule” set out in 26 C.F.R. (“Treas. Reg.”) § 1.263A-11(e)
(1)(ii)(B) requires that, when real property is temporarily withdrawn from service to install or
construct an improvement, as happened with the boilers and associated generating units to
accomplish installation of the new burners, 1 the adjusted basis of that property (termed
“associated property”) must be included in the indirect-attribution calculation. Dominion
Resources has challenged the validity of Treas. Reg. § 1.263A-11(e)(1)(ii)(B) as applied to its
improvements, arguing that the regulation is inconsistent with the statutory text of Section 263A
and also was adopted in contravention of the requirements of the Administrative Procedure Act.

        Secondary contentions are also at issue. If unsuccessful on its primary claims, Dominion
alternatively seeks retroactively to invoke a so-called “de minimis” rule, Treas. Reg. § 1.263A-
11(e)(2), as applied to the improvement made at one of its plants. 2 The government has also



       1
        The parties agree that the boilers and associated generating units qualify as real property
under Treas. Reg. § 1.263A-8(c)(1), (3).
       2
           The de minimis rule states that for purposes of Treasury Reg. § 1.263A-11(e)(1)(ii)

                 the total costs of all associated property for an
                 improvement unit (associated property costs) are excluded
                 from the accumulated production expenditures for the
                 improvement unit during its production period if, on the
                 date the production period of the unit begins, the taxpayer
                 reasonably expects that at no time during the production
                 period of the unit will the accumulated production
                 expenditures for the unit, determined without regard to the
                 associated property costs, exceed 5 percent of the
                 associated property costs.


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filed a counterclaim, arguing that a settlement agreement between it and Dominion should be
reopened and that Dominion should have capitalized more interest in 1996 than the amount
agreed by the parties in the settlement.

      The parties have presented these competing contentions to the court by way of cross-
motions for summary judgment.

                                STATEMENT OF THE CASE 3

                                  A. Dominion’s Improvements

        Dominion Resources generates and sells electrical power to individual and commercial
customers. Stip. ¶¶ 13, 14. In 1996, its subsidiary, the Virginia Electric & Power Company,
owned and operated electric generating units in Virginia and West Virginia that included two
coal-fired electric generating complexes, the Possum Point Power Station (“Possum Point”) and
the Mount Storm Power Station (“Mount Storm”). Stip. ¶¶ 15, 42. Possum Point, in Virginia,
encompassed six independent generating units, two of which were retired in the early 1990s, and
Mount Storm, in West Virginia, contained three independent generating units. Stip. ¶¶ 16, 43.

        In 1996, Dominion performed renovations at Possum Point and Mount Storm, replacing
certain existing coal burners in the plants’ boilers with low-nitrous-oxide burners to comply with
requirements of the Clean Air Act, 42 U.S.C. §§ 7401-7671q. Stip. ¶¶ 15, 18, 42, 45. Replacing
the burners required that Dominion temporarily take out of service the Unit 4 generating plant at
Possum Point and the Unit 3 generating plant at Mount Storm. Stip. ¶¶ 19, 46. The unit at
Possum Point was out of service from March 9, 1996 to May 13, 1996, and the unit at Mount
Storm was out of service from September 6, 1996 to December 2, 1996. Stip. ¶¶ 19, 46.

                              B. Relevant Statutes and Regulations

        Stated most simply, the central question at issue in this case is how much accrued interest
Dominion Resources had to capitalize, rather than deduct as an expense, in 1996, as a result of its
renovation of the Possum Point and Mount Storm plants. Several sections of the Internal
Revenue Code and of Treasury Regulations bear on that question. Notably, neither the main
issue in this case nor any of the secondary issues would arise if Dominion had a capital structure
that was predicated only on equity, without any debt. Equity assuredly has an economic cost, but
the several economic policy arguments made by the parties, particularly those relating to
“avoided cost,” are constrained to debt on which interest is being paid.



Treas. Reg. § 1.263A-11(e)(2). Essentially, the de minimis rule excludes the basis of associated
property from the indirect-attribution calculation of interest to be capitalized regarding an
improvement, where the production expenditures for the improvement taken alone are less than 5
percent of the associated property costs.
       3
         The Statement of the Case is drawn from extensive stipulations of fact filed by the
parties, along with the voluminous documentary exhibits appended to the stipulations.


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        The law provides that a taxpayer can generally deduct from its taxable income “all
interest paid or accrued within the taxable year on indebtedness.” I.R.C. § 163(a). However, the
cost of creating or increasing the value of property must be capitalized rather than deducted.
Section 263 sets forth the general rules for capitalizing expenditures rather than deducting
them. See I.R.C. § 263(a)(1) (“No deduction shall be allowed for . . . [a]ny amount paid out for
new buildings or for permanent improvements or betterments made to increase the value of any
property or estate[, subject to specified exceptions].”). Interest can be such a capitalized cost.
See Commissioner v. Breyer, 151 F.2d 267, 272 (3d Cir. 1945); Eskimo Pie Corp. v.
Commissioner, 4 T.C. 669, aff’d, 153 F.2d 301 (3d Cir. 1946). Dominion Resources’ generating
units are treated as capital investments under this statute. Stip. ¶¶ 17, 44 (noting that the parties
agree that the Possum Point and Mount Storm generating units constitute real property).

        Previously, the general framework provided by Section 263 was supplemented by I.R.C.
§ 189, adopted in 1976. Section 189 required a taxpayer to capitalize interest on debt accrued for
real property construction. See I.R.C. § 189(a) (1982) (“Except as otherwise provided . . . , no
deduction shall be allowed for real property construction period interest and taxes.”); I.R.C.
§ 189(e) (1982) (“The term ‘real property construction period interest and taxes’ means all . . .
interest paid or accrued on indebtedness incurred or continued to acquire, construct, or carry real
property, and . . . real property taxes, to the extent such interest and taxes are attributable to the
construction period for such property and would be allowable as a deduction . . . .”). The
Secretary of the Treasury was directed to prescribe regulations “provid[ing] for the allocation of
interest to real property under construction,” I.R.C. § 189(e) (1982), but regulations were never
promulgated, and Section 189 was repealed and replaced in 1986. See Pub. L. No. 99-514,
§ 803(b)(1), 100 Stat. 2085 (Oct. 22, 1986).

         In 1986, Section 189 was supplanted by Section 263A, which laid out a so-called
uniform-capitalization (“UNICAP”) structure for the capitalization of property “produced by the
taxpayer” or “acquired for resale.” I.R.C. § 263A(b). The Section is lengthy and complex,
cluttered with a myriad of special provisions concerning, among other topics, “[r]esearch and
experimental expenditures,” I.R.C. § 263A(c)(2), production of “[t]imber and certain ornamental
trees,” I.R.C. § 263A(c)(5), activities of “citrus and almond growers,” I.R.C. § 263A(d)(3)(C),
and activities of “free[]lance authors, photographers, and artists.” I.R.C. § 263A(h).
Nonetheless, none of the special provisions and exceptions apply to Dominion. Rather,
Dominion’s improved burners are subject to the overarching provisions of Section 263A, which
pertain to “property produced by the taxpayer.” See I.R.C. § 263A(b)(1) (“Except as otherwise
provided in this section, this section shall apply to . . . [r]eal or tangible personal property
produced by the taxpayer.”). The costs of producing those improvements must be capitalized
rather than deducted. I.R.C. § 263A(a)(1)(B) (“[A]ny costs described in [Paragraph 263A(a)(2),
which are not inventory costs] . . . shall be capitalized.”). Those costs include both the “direct
costs of [producing] such property” — e.g., the amount the taxpayer had to spend to produce the
property, such as buying parts or production equipment — and “such property’s proper share of
those indirect costs . . . part or all of which are allocable to such property.” I.R.C. § 263A(a)(2).

       Interest as a cost is addressed by Subsection 263A(f). That Subsection begins by
providing that interest is to be capitalized only in certain cases. Paragraph (1) of Subsection




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263A(f) provides:

       (1) Interest capitalized only in certain cases.—Subsection (a)
           shall only apply to interest costs which are—
           (A) paid or incurred during the production period, and
           (B) allocable to property which is described in subsection
           (b)(1)and which has—
               (i) a long useful life,
               (ii) an estimated production period exceeding 2 years, or
               (iii) an estimated production period exceeding 1 year and
               a cost exceeding $1,000,000.

I.R.C. § 263A(f)(1) (emphasis added). The cross-reference in this Paragraph to a provision of
the same Section, Paragraph 263A(b)(1), is to statutory text specifying that the entirety of
Section 263A, including Subsection (f), applies to “[r]eal or tangible personal property produced
by the taxpayer.” I.R.C. § 263A(b)(1).

        “Allocation rules” are set out in Paragraph 263A(f)(2). Clause 263A(f)(2)(A)(i) pertains
to direct allocation and is not in dispute. In addressing indirect allocation, however, Clause
263A(f)(2)(A)(ii) provides that “interest on [indebtedness which is not directly attributable to
property production expenditures] shall be assigned to such property [whose costs are required
to be capitalized under subsection (a)] to the extent that the taxpayer’s interest costs could have
been reduced if production expenditures (not attributable to indebtedness [that is directly
attributable to production expenditures]) had not been incurred.” Id. (emphasis added). 4 In
short, a taxpayer must capitalize interest on the amount of its unrelated debt equal to the
“incurred” “production expenditures” for the project. In effect, had “production expenditures”
not been “incurred,” the funds used to make those expenditures would have been available to pay
down the taxpayer’s general debt. Because the debt was not paid off, interest accrued on it. This
interest can thus be seen as a “cost” of producing property that must be capitalized under Section
263A(a)(2).

       Production expenditures are defined as “the costs (whether or not incurred during the
production period) required to be capitalized under [Section 263A(a)] with respect to the
property.” I.R.C. § 263A(f)(4)(C). Expenditures for the production of improvements, such as
       4
         To illustrate with an example, suppose in a year a taxpayer expends $100,000 to produce
property and carries $1,000,000 of unrelated debt at 5% interest compounded once per year. At
the end of the year, the taxpayer would have accrued $50,000 of interest on the principal million-
dollar debt. However, if instead of spending $100,000 to produce property, the taxpayer had
spent the $100,000 to pay his loan down to $900,000 before that year’s interest began to accrue,
the 5% interest rate would have only yielded $45,000 of interest. So, as a result of the taxpayer
spending $100,000 to produce property, the taxpayer could also be said to have accrued $5,000
of interest he would not have otherwise have had if he had used the $100,000 to pay down his
debt. See, e.g., Treas. Reg. § 1.263A-9(g)(5)(iii) (Examples (i) and (ii)) (setting out applications
of the indirect-cost allocation principles in the setting of a consolidated group of companies with
limited outside borrowing).



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Dominion’s improved burners, are further defined in Treas. Reg. § 1.263A-11(e)(1)(ii)(B), which
states, “[A]ccumulated production expenditures with respect to the improvement consist of . . .
[,] [i]n the case of an improvement to a unit of real property . . . the adjusted basis of any . . .
property that . . . must be temporarily withdrawn from service to complete the improvement
([“]associated property[”]) . . . if . . . the associated property directly benefits from the
improvement, or the improvement was incurred by reason of the associate property.” The basis
of the associated property need not be included in the production expenditures, however, if “the
taxpayer reasonably expects that at no time during the production period of the unit will the
[other] accumulated production expenditures . . . exceed [five] percent of the associated property
costs.” Treas. Reg. § 1.263A-11(e)(2) (“de minimis rule”).

                                      C. Effect on Dominion

        For the purposes of tallying the interest to be capitalized, Treas. Reg. § 1.263A-11(e)
(1)(ii)(B) required Dominion to include in its production expenditures not just the amount
Dominion had to spend to install new burners, but also the adjusted basis of the boilers and
associated generating units that it had temporarily removed from service to accomplish the
installation. Under the Treasury Regulation, those aggregated expenditures determined both how
much of Dominion’s general debt could have been reduced had the burner improvements not
been made and how much production cost should be attributed to taking previously-capitalized
components temporarily out of service to make the improvement. Interest that accrued on that
debt had to be capitalized. See I.R.C. § 263A(f)(2)(A)(ii). The parties agree that Treas. Reg.
§ 1.263A-11(e)(1)(ii)(B) plainly requires the basis of the boilers and associated generating units
to be included in the “production expenditures” for the burners, for the temporary period the
boilers were out of service. However, Dominion argues that the inclusion of the adjusted basis
of the boilers and associated generating units in “production expenditures” violates the allocation
rule set forth in Clause 263A(f)(2)(A)(ii), because the basis of the boilers could not have been
used to reduce debt if Dominion had not replaced the burners. See Pl.’s Br. in Support of Mot.
for Summary Judgment (“Pl.’s Mot.”) at 7-8. Dominion also contends that the inclusion of the
basis is inconsistent with the definition of “production expenditures” as defined in Subparagraph
263A(f)(4)(C). Id. at 8. Implicit in this latter contention is the concept that the “property”
subject to the capitalization rules of Section 263A consists of the specific improvement, i.e., the
new burners, and not the overall generating units being improved by the new burners. See Hr’g
Tr. 5:15-24 (Nov. 23, 2010). 5 Dominion finally argues that Treas. Reg. § 1.263A-11(e)(1)(ii)(B)
was adopted contrary to the requirements of the Administrative Procedure Act, 5 U.S.C.
§ 706(2)(A). Pl.’s Mot. at 33.

                                    D. Settlement Agreement

        Dominion and the Internal Revenue Service (“IRS”) disputed the amount of taxes
Dominion owed for the 1996 year, but ultimately they reached a settlement agreement as to most
of their issues, effective August 3, 2007. See Stip. Ex. 1 (Offer to Waive Restrictions on
Assessment and Collection of Tax Deficiency and to Accept Overassessment, Form 870-AD

       5
         Further citations to the transcript of the hearing held on November 23, 2010, will not
include the date.


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(“2007 Settlement”)); Stip. ¶ 6. In the settlement, Dominion reserved the right to timely file a
claim for refund with respect to the “amount of interest properly capitalized by the Internal
Revenue Service under [S]ection 263 of the Internal Revenue Code of 1986 with respect to
‘associated property,’ as defined in the Treasury Regulation § 1.263A-11(e), and any correlative
adjustments for the years 1995 through and including 1998.” Stip. Ex. 1 at 1. Upon acceptance
of the settlement, the Commissioner of Internal Revenue could only reopen the case if there were
“fraud, malfeasance, concealment, or misrepresentation of a material fact[,] an important mistake
in mathematical calculation[,] a deficiency or overassessment resulting from adjustments made
under Subchapters C and D of Chapter 63 . . . [, or] an excessive tentative allowance of a
carryback provided by law.” Id. at 2.

                                    E. Procedural Posture

         Dominion timely exercised its right to file a claim for refund relating to the amount of
interest capitalized with respect to associated property on October 1, 2007, asking for refund of
$297,699.00, on the grounds that the associated-property rule was improper because the basis of
its boilers and associated generating units did not actually reflect “production expenditures”
within the meaning of I.R.C. § 263A(f)(2) and Treas. Reg. § 1.263A-9 (describing an “avoided
cost method” for deriving production expenditures.). See Stip. Ex. 2, at 4 (Form 1120X); Stip.
¶¶ 9-10. The IRS rejected Dominion’s claim for a refund. See Stip. ¶ 11.

        Dominion filed its complaint in this court on March 20, 2008, asking for the same
requested refund amount plus interest. Compl. ¶¶ 18-19. In its briefs, the government has not
disputed that the $297,699.00 figure, plus interest, is the proper refund if Dominion prevails on
its primary claim.

        The government filed a counterclaim, asserting that the settlement reached between
Dominion and the IRS was mistaken because “the IRS did not previously capitalize enough
interest on associated property for [Dominion Resources] for the 1996 tax year” and asking for
“the additional tax and interest resulting from the correct calculation of capitalized interest on
associated property.” First Am. Answer and Countercl. ¶¶ 27, 29. Dominion argues that the
counterclaim is improper and the amount of interest capitalized cannot be revisited because none
of the requirements for reopening the 2007 Settlement have been met. Pl.’s Br. in Reply to
Def.’s Opp’n to Pl.’s Mot. for Summary Judgment and in Opp’n to Def.’s Cross-Mot. (“Pl.’s
Reply”) at 30.

        On November 2, 2009, Dominion amended its complaint, seeking retroactively to invoke
the de minimis rule as applied to the Mount Storm project in the event that its claim challenging
the associated-property rule was unsuccessful. Dominion noted that it had originally capitalized
the cost of improving the Mount Storm burners. Resp. to Def.’s First Am. Answer and
Countercl. and Am. to Pl.’s Compl. (“Am. to Pl.’s Compl.”) ¶ 20. The Mount Storm
improvements were estimated to cost $11,026,000.00, and the basis of the associated property
related to the project was $131,820,854.00. Id. ¶¶ 21, 22. After Dominion filed its 1996 return,
it contended that the cost of the Mount Storm improvement project should have been deducted as
a repair rather than being capitalized. The 2007 Settlement between Dominion and the IRS
resolved this issue by treating 50% of the cost as a repair and 50% of the cost as a capital



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investment. See id. ¶ 23.

        Originally, Dominion had determined how much interest it had to capitalize because of
the Mount Storm project by calculating interest accrued on an amount of debt equal to 100% of
the costs of the Mount Storm improvements (i.e., treating 100% of the costs as a capital
investment). The 2007 Settlement, however, allocated 50% of the costs, including interest, to the
capitalized cost of the improvements and 50% to a deductible repairs expense. Am. to Pl.’s
Compl. ¶ 24. Half of the estimated costs of improvements would have been $5,513,000.00,
which is less than five percent of the $131,820,854.00 basis in the associated property related to
the project. Therefore, Dominion argues, the Mount Storm project should be subject to the de
minimis rule set out in Treas. Reg. § 1.263A-11(e)(2). Id. ¶ 25. Application of the de minimis
rule would mean that the basis of the property associated with the Mount Storm improvements
would not be treated as a “production expenditure” and would be fully deductible. The
government contests Dominion’s position, arguing that the de minimis rule cannot be applied
retroactively. See Def.’s Cross-Mot. for Summary Judgment and Opp’n to Pl.’s Mot. for
Summary Judgment (“Def.’s Cross-Mot.”) at 42.

                                         JURISDICTION

       “A federal court’s jurisdiction must be established as a threshold matter before the court
may reach the merits of any action.” Riser v. United States, 93 Fed. Cl. 212, 215 (2010) (citing
Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 88-89 (1998)). The plaintiff bears the
burden of establishing that the court has subject matter jurisdiction over its claim. McNutt v.
Gen. Motors Acceptance Corp. of Ind., 298 U.S. 178, 189 (1936); Reynolds v. Army & Air Force
Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988).

         Through the Tucker Act, Congress has conferred on this court “jurisdiction to render
judgment upon any claim against the United States founded upon either the Constitution, or any
Act of Congress or any regulation of an executive department, or upon any express or implied
contract with the United States, or for liquidated or unliquidated damages in cases not sounding
in tort.” 28 U.S.C. § 1491(a)(1). A suit seeking a refund of taxes paid is included within this
grant. See Eastport S.S. Corp. v. United States, 372 F.2d 1002, 1007-08 (Ct. Cl. 1967),
abrogated in part on other grounds by Malone v. United States, 849 F.2d 1441, 1444-45 (Fed.
Cir. 1988); cf. 28 U.S.C. § 1346(a)(1) (providing that district courts shall have jurisdiction
concurrent with the Court of Federal Claims to consider tax-refund suits). With limited
exceptions, tax cases in this court and in district courts must be styled as claims for a refund of
taxes that have been paid in full. See Shore v. United States, 9 F.3d 1524, 1526 (Fed. Cir. 1993)
(“Where the principle tax deficiency has not been paid in full, such tax refund claims are
dismissed.”).

        To pursue a tax refund suit, a plaintiff must first file a tax refund claim with the IRS.
I.R.C. § 7422(a). 6 The claim filed with the IRS must “set forth in detail each ground upon which

       6
           Section 7422(a) provides:
                 No suit or proceeding shall be maintained in any court for
                 the recovery of any internal revenue tax alleged to have


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a . . . refund is claimed and facts sufficient to apprise the Commissioner [of Internal Revenue] of
the exact basis thereof.” Treas. Reg. § 301.6402-2(b)(1). 7 “Courts have long interpreted [I.R.C.]
§ 7422(a) and Treasury Reg. § 301.6402-2(b)(1) as stating a ‘substantial variance’ rule which
bars a taxpayer from presenting claims in a tax refund suit that ‘substantially vary’ the legal
theories and factual bases set forth in the tax refund claim presented to the IRS.” Lockheed
Martin Corp. v. United States, 210 F.3d 1366, 1371 (Fed. Cir. 2000) (citing Cook v. United
States, 599 F.2d 400, 406 (Ct. Cl. 1979)). “In short, to be addressed by a court, both the legal
and factual grounds for a refund claim must first have been presented by the taxpayer to the
IRS.” Marandola v. United States, 76 Fed. Cl. 237, 243 (2007), appeal dismissed, 518 F.3d 913
(Fed. Cir. 2008). A “legal theory not expressly or impliedly contained in the application for
refund cannot be considered by a court in which a suit for refund is subsequently initiated.”
Lockheed Martin, 210 F.3d at 1371 (quoting Burlington N., Inc. v. United States, 684 F.2d 866,
868 (Ct. Cl. 1982)). However, as long as the “claim fairly apprises the Commissioner of the
ground on which recovery is sought, then the claim is adequate for the purposes of bringing suit
under section 7422(a).” Burlington N., 684 F.2d at 869. The taxpayer bears the burden of
establishing that it sufficiently apprised the IRS of the same grounds and facts on which the
taxpayer bases its claim before the court. See Ottawa Silica Co. v. United States, 699 F.2d 1124,
1138-39 (Fed. Cir. 1983).

                                STANDARDS FOR DECISION

                                     A. De Novo Proceeding

        “A tax refund suit is a de novo proceeding, in which the plaintiff bears the burden of
proof, including both the burden of going forward and the burden of persuasion.” Gingerich v.
United States, 77 Fed. Cl. 231, 240 (2007) (quoting Sara Lee Corp. v. United States, 29 Fed. Cl.
330, 334 (1993)); see also Marandola, 76 Fed.Cl. at 244. “A plaintiff who is claiming a tax
refund must prove [its] case by a preponderance of the evidence.” Ebert v. United States, 66
Fed. Cl. 287, 291 (2005) (citing Cook v. United States, 46 Fed. Cl. 110, 116 (2000)).




               been erroneously or illegally assessed or collected, or of
               any penalty claimed to have been collected without
               authority, or of any sum alleged to have been excessive or
               in any manner wrongfully collected, until a claim for
               refund or credit has been duly filed with the Secretary [of
               the Treasury], according to the provisions of law in that
               regard, and the regulations of the Secretary established in
               pursuance thereof.
I.R.C. § 7422(a).
       7
        Treas. Reg. § 301.6402-2(b)(1) specifies that “[n]o refund . . . will be allowed . . . except
upon one or more of the grounds set forth in a claim [made to the Internal Revenue Service] . . . .
A claim which does not comply with this paragraph will not be considered for any purpose as a
claim for refund or credit.”


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                                     B. Summary Judgment

        Summary judgment is appropriate when the pleadings and the parties’ submissions “show
that there is no genuine issue as to any material fact and that the movant is entitled to judgment
as a matter of law.” Rule 56(c)(1) of the Rules of the Court of Federal Claims (“RCFC”); see
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-49 (1986). An issue is “genuine” only if it
“may reasonably be resolved in favor of either party.” Id. at 250. A material fact is one “that
might affect the outcome of the suit under the governing law.” Id. at 248.

        The moving party for summary judgment carries the burden of establishing that no
genuine issue of material fact exists. Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). In
ruling on a motion for summary judgment, the court must view the inferences to be drawn from
the underlying facts in the light most favorable to the party opposing the motion. See Matsushita
Elec. Indus. Co. v. Zenith Corp., 475 U.S. 574, 587-88 (1986). If no rational trier of fact could
find for the non-moving party, summary judgment may be appropriate. Id. at 587. When
considering cross-motions for summary judgment, courts evaluate each motion on its own
merits, and denial of both motions is appropriate if genuine disputes over material facts exist.
Mingus Constructors, Inc. v. United States, 812 F.2d 1387, 1390-91 (Fed. Cir. 1987).

        In this instance, in deciding the parties’ cross-motions for summary judgment, the court
has the benefit of the parties’ extensive stipulations of fact.

                                           ANALYSIS

                 I. APPLICABILITY OF THE INTEREST-CAPITALIZATION PROVISIONS
                    OF I.R.C. § 263A

        This case turns on the applicability of the interest-capitalization provisions of I.R.C.
§ 263A. Because the parties’ dispute centers on the requirements of the associated-property
rules of Treas. Reg. § 1.263A-11(e)(1)(ii)(B), and because associated property is not a term used
in Section 263A, much of the argument concerns whether the Treasury Regulation is a
permissible interpretation and application of the statute. In that respect, the court follows the
precepts explicated in Chevron, U.S.A., Inc. v. Natural Res. Def. Council, Inc., 467 U.S. 837,
842-43 (1984), viz.:

               When a court reviews an agency’s construction of a statute which
               it administers, it is confronted with two questions. First, always, is
               the question whether Congress has spoken to the precise question
               at issue. If the intent of Congress is clear, that is the end of the
               matter; for the court, as well as the agency, must give effect to the
               unambiguously expressed intent of Congress. . . . [I]f the statute is
               silent or ambiguous with respect to a specific issue, the [second]
               question for the court is whether the agency’s answer is based on a
               permissible construction of the statute.




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These questions are frequently referred to as “Chevron Step One” and “Chevron Step Two.”
They apply to Treasury Regulations just as they do to rules adopted by other federal agencies
charged with administering statutes. See Mayo Found. for Med. Educ. & Research v. United
States, __ U.S. __, __, 131 S.Ct. 704, 713 (2011) (applying the precepts of Chevron to review
and application of Treasury Regulations and noting that “[t]he principles underlying our decision
in Chevron apply with full force in the tax context”). 8

                          A. Statutory Interpretation – Chevron Step One

        Dominion principally argues that Treas. Reg. § 1.263A-11(e)(1)(ii)(B) fails Chevron Step
One because it is inconsistent with the text of two provisions in I.R.C. § 263A. First, Dominion
argues that the regulation is inconsistent with I.R.C. § 263A(f)(2)(A)(ii), which states, “In
determining the amount of interest required to be capitalized under [Section 263A(a)] with
respect to any property[,] . . . interest on any . . . indebtedness [not directly attributable to
production expenditures] shall be assigned to such property to the extent that the taxpayer’s
interest costs could have been reduced if production expenditures (not attributable to
indebtedness described in [Clause 263A(f)(2)(A)(i)]) had not been incurred.” Pl.’s Mot. at 7-8.
Second, Dominion argues that the regulation is inconsistent with Subparagraph 263A(f)(4)(C),
which defines “production expenditures” as “the costs (whether or not incurred during the
production period) required to be capitalized under [Subsection 263A(a)] with respect to the
property.” Id. at 8-11. These specific arguments each relate back to the term “property” as it is
used in Subsection 263A(a), which term is generally described and limited in Subsection
263A(b), which is headed “Property to which [S]ection applies.” Analytically, the definition of
“property” as used in Section 263A is critical to the application of the Section generally and thus
should be addressed first as a logical matter. The next step in the sequential chain should focus
on the statutory usage of “production expenditures” related to property, which correlates to
Dominion’s second argument. Production expenditures are explicitly embedded in the indirect-
attribution rules which are the basis of Dominion’s first argument. In the ensuing analysis, the
court consequently has reversed the order of the arguments presented by the parties.




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         Chevron Step Two, i.e., Chevron deference, is appropriate “when it appears that
Congress has delegated authority to [an] agency generally to make rules carrying the force of
law, and that the agency interpretation [under evaluation] was promulgated in the exercise of that
authority.” United States v. Mead Corp., 533 U.S. 218, 226-27 (2001). Here, I.R.C. § 263A(i)
directs the Secretary of the Treasury to “prescribe such regulations as may be necessary or
appropriate to carry out the purposes of this section,” and regulations under Section 263A were
adopted after notice-and-comment rulemaking. See Notice of Proposed Rulemaking —
Department of the Treasury, 56 Fed. Reg. 40815, 1991 WL 156987 (Aug. 16, 1991); Final
Regulations — Department of the Treasury, 59 Fed. Reg. 67187, 1994 WL 16000428 (Dec. 29,
1994); see also Mead, 533 U.S. at 230 (noting “the overwhelming number of . . . cases applying
Chevron deference have reviewed the fruits of notice-and-comment rulemaking or formal
adjudication”). The rulemaking delegation in this instance thus is quite specific to the pertinent
section and has been implemented.



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       1. “Property” as used in Section 263A.

        The government argues that the “property” whose costs are capitalized is not “the
improvement” alone, but rather the combination of the improvement and the associated property.
See Def.’s Cross-Mot. 24-26. As a result, the government argues, the adjusted basis of the
property, including the associated property, is a cost, under Subparagraph 263A(f)(4)(C), of
creating the combined unit of property. The government’s argument, however, is not fully
congruent with how associated property is actually treated by the IRS, the Treasury Regulations,
and the Internal Revenue Code.

        The government’s conception of “the property” as both the improvement and the
associated property would ostensibly require the associated property itself to be capitalized, or
more accurately, recapitalized, as a cost of producing the improved property. See I.R.C.
§ 263A(b)(1) (“[T]his section shall apply to . . . [r]eal or tangible personal property produced by
the taxpayer.”); I.R.C. § 263A(a)(1)(B) (“In the case of any property to which this section
applies, any costs [described in Section 263A(a)(2)] . . . shall be capitalized,” excepting
inventory.); I.R.C. § 263A(a)(2) (explaining costs include the direct and indirect costs of
“property”). However, when an improvement is undertaken, the associated property retains its
existing basis and attendant depreciation schedule and is not recapitalized under Section 263A as
part of the improvement:

             [When the existing boiler] was placed into service[,] . . . it acquired a
             basis and . . . was then depreciated over the appropriate life . . . .
             Subsequently when the . . . [new] burners were placed on the boilers,
             then the costs attributable to the burners now were put in a separate
             category, a separate item of property[,] and depreciated over the
             appropriate period, going forward from the date the improvements
             were made and totally independently of the cost of the boiler, which
             continued to be depreciated on its own terms as a separate unit of
             property.

Hr’g Tr. 7:4 to 8:3; see also Hr’g Tr. 19:7-13 (“[T]here is no way that the basis [of the boilers]
can be a production expenditure [for the new burners] because the preexisting basis was
capitalized long ago and it’s not capitalized a second time when you compute the depreciable
basis of the burners, which is a totally separate piece of property depreciated independently of
the preexisting boilers.”). The government argues that even though Dominion’s generating unit
less the burners is considered separate property for depreciation purposes, it can still be treated
conceptually as the same piece of property for the purpose of allocating interest under Section
263A. See Def.’s Cross-Mot. at 31.

        However, in defining the property produced, the government must look to the statute and
then to the existing Treasury Regulations. In addressing the “[p]roperty to which [the] [S]ection
applies,” I.R.C. § 263A(b) (heading), Paragraph § 263A(b)(1) states that the Section covers
“[r]eal or tangible personal property produced by the taxpayer.” Paragraph 263A(g)(1) explains,
“The term ‘produce’ includes construct, build, install, manufacture, develop, or improve.” These
provisions do not specify how narrowly or broadly to delineate a unit of property. The Treasury



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Regulations fill this gap, specifying that an improvement can be a separate unit of property. See
Treas. Reg. § 1.263A-11(e)(1)(i) (“If an improvement constitutes the production of designated
property under § 1.263A-8(d)(3), accumulated production expenditures will consist of . . . [a]ll
direct and indirect costs required to be capitalized with respect to the improvement.”). Treas.
Reg. § 1.263A-8(d)(3) is even more explicit in specifying that “[a]ny improvement to property
described in [Treas. Reg.] § 1.263(a)-1(b) constitutes the production of property. Generally, any
improvement to designated property constitutes the production of designated property [unless the
de minimis exception applies].” Moreover, the associated-property rule itself treats the
improvement and the associated property as though they were separate units of property. See
Treas. Reg. § 1.263A-11(e)(1)(ii)(B) (noting that production expenditures include associated
property “if the associated property directly benefits the property being improved, the associated
property directly benefits from the improvement, or the improvement was incurred by reason of
the associated property”).

        The government argues that Treas. Reg. § 1.263A-10(b), defining units of real property,
mandates that components of real property which are “functionally interdependent” be treated as
one unit of property. See Def.’s Cross-Mot. at 24. However, Dominion correctly notes that
Section 1.263A-10(b) refers to components placed in service contemporaneously, not to an
improvement added after a unit of property has previously been placed in service. See Pl.’s
Reply at 9. This conceptual approach is illustrated adeptly by three hypotheticals posed by the
government’s counsel during the hearing of the cross-motions. In the first hypothetical, a power
producer builds a generating unit from scratch. Hr’g Tr. 47:24-25. The generating unit costs
$100 million, and, if financed by borrowed money, an interest cost is involved and that interest is
capitalized upon the units being brought into service. Hr’g Tr. 48:2-7. 9 The second hypothetical
concerns a generating unit that is purchased for $90 million, but which requires an improvement
costing $10 million to be operational. Hr’g. Tr. 48:12-23. Again, money is borrowed or the
purchaser has other debt, and interest is capitalized on the purchase amount plus the amount of
the improvement, assuming that at least $100 million in debt exists for the period until the unit is
brought into service. Hr’g Tr. 48:17-23. This hypothetical in essence reflects the thrust of Treas.
Reg. § 1.263A-10(b), and is distinguishable from the instant case, which is represented by
government’s counsel’s third hypothetical. In the third case, a taxpayer already has a generating
unit in service, with a value of $90 million. Hr’g Tr. 48:24-25. To bring the unit up to

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         Assuming that some of the taxpayer’s own capital assets are used in the construction,
such as taxpayer-owned bulldozers, trucks, and cranes, the depreciation attributable to that
equipment during the construction period, plus attendant motor vehicle taxes, property taxes, and
operating and maintenance costs, would be capitalized along with direct component costs for the
generating unit. See Treas. Reg. § 1.263A-1(e)(3) (indirect costs subject to capitalization); see
also Treas. Reg. § 1.263A-11(d)(1) (property used to produce designated property). Rental costs
for equipment leased by the taxpayer for construction or installation must also be capitalized.
See Treas. Reg. § 1.263A-1(e)(3)(ii)(K). However, costs and expenses for assets subject to
I.R.C. § 179 need not be capitalized. See Treas. Reg. § 1.263A-1(e)(3)(iii)(C).
          The principles reflected in these tax regulations generally accord with precepts applied
prior to enactment of Section 263A. See, e.g., Commissioner v. Idaho Power Co., 418 U.S. 1
(1974) (depreciation of a taxpayer’s equipment for the time used in the construction of its own
capital asset is not deductible but rather a capital cost of the new asset).


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regulatory standards, an improvement costing $10 million is made, and the generating unit is
temporarily taken out of service to make the improvement. Hr’g Tr. 49:1-6. Assuming that the
taxpayer has borrowings that equal or exceed the total value of the generating unit as improved,
the government asserts that the basis of the generating unit that is temporarily taken out of
service must be included in totaling the amount of value on which the capitalized interest
calculation is made. Hr’g Tr. 49:7-11. In this hypothetical, however, the government
acknowledges that the generating unit that is temporarily taken out of service keeps the basis and
depreciation schedule that it had before the improvement was made, and that the addition
acquires a separate new basis, with an attendant depreciation schedule, that reflects the cost of
the improvement plus capitalized interest relating both to cost of the improvement and the basis
of the associated property. Hr’g Tr. 72:10 to 73:17. As illustrated by the three hypotheticals, the
government’s arguments that Treas. Reg. § 1.263A-10(b) combines functionally interdependent
components into one “property” has an appropriate application in the circumstances of the
second hypothetical where the purchaser must make improvements before bringing the unit into
service. However, the validity of the second hypothetical hardly “mandates” combining the
components in the situation posed by the third hypothetical.

        In sum, the word “property” as used in Subsections 263A(a) and (b), and thereafter
throughout Section 263A, seemingly would be sufficiently broad that it could be defined to
embrace both a pre-existing generating unit and an addition that was subsequently made to
improve it. However, the court is troubled by the circumstance that the implementing Treasury
Regulations address the definition of property in different and arguably inconsistent ways.
Notably, Treas. Reg. § 1.263A-11(e) designates the improvement, sans the associated property,
as a “unit of property” to which I.R.C. § 263A applies, but otherwise “borrows” the basis of the
separate associated property for purposes of calculating interest imputed to the improvement. In
short, the Treasury Regulation is Janus-like in looking both ways insofar as “property” is
concerned. With these contradictions in mind, the court will examine Dominion’s arguments
respecting production expenditures and the associated-property rule.

       2. “Production expenditure” as defined in I.R.C. § 263A(f)(4)(C).

        Dominion contends that the adjusted basis of associated property, as defined in Treas.
Reg. § 1.263A-11(e)(1)(ii)(B) — “any existing structure, common feature, or property that is not
placed in service or must temporarily be withdrawn from service to complete the
improvement” — cannot qualify as a “production expenditure” under the term’s statutory
definition, set forth in I.R.C. § 263A(f)(4)(C). Subparagraph 263A(f)(4)(C) defines “production
expenditures” as “the costs (whether or not incurred during the production period) required to be
capitalized under subsection (a) [of Section 263A] with respect to the property.” This provision
sets forth two limitations on production expenditures. Production expenditures must be (1) costs,
which may or may not have been incurred while property was being produced, (2) that are
required to be capitalized under Subsection 263A(a) with respect to the property.

      The government’s briefs present several candidates for what the term “costs” in
Subparagraph 263A(f)(4)(C) could mean, as applied to associated property. At times the
government claims the associated-property rule is meant to capture the economic cost of
removing the property from service, and that the term “costs” in the definition of production



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expenditures properly could refer to the economic costs of removing the associated property
from service. See Def.’s Cross-Mot. at 22-23, 27. At other times, the government argues that
associated property could be sold to pay down debt, and that its adjusted basis effectively
represents the cost of keeping it, albeit in a temporarily inactive mode. See id. at 29, 34.

        The government’s discussion of “economic costs” in part suggests that the “economic
costs” of an improvement are roughly represented by capitalizing interest on the adjusted basis of
the associated property, see Def.’s Cross-Mot. at 23, and that the “economic costs” of removing
associated property from service on a temporary basis are among the costs of producing
property, i.e., the improvement, referred to in the definition of production expenditures. Id. at
35; see also Hr’g Tr. 62:6-20. These positions also are not fully congruent.

        The first position, suggesting economic costs are roughly captured by capitalizing interest
according to the associated-property rule, does not directly speak to the Chevron Step One
analysis. See Def.’s Cross-Mot. at 23 (“Treasury reasonably determined that the most
appropriate measure of the avoided cost that must be capitalized was to use the adjusted basis of
the unit of property being improved, during the production period, at a given interest rate. This
puts a price tag on the taxpayer’s decision to remove the unit of property from service, and
determines that that cost should be capitalized, not currently deducted.”) (emphasis added). This
position assumes that the economic cost of removing associated property from service, perhaps
causing a loss of revenue and income, is somehow related or similar to the interest accrued
temporarily on an amount of debt equal to the adjusted basis of the associated property. The
government provides no explanation for why the economic cost of removal would be represented
by the amount of interest accruing on that segment of a taxpayer’s debt.

        More relevant to the Chevron Step One analysis, however, is the second potential
meaning of “economic costs,” which posits that the “economic cost” of removing associated
property from service is among the “costs” in the definition of “production expenditures” set out
in Subparagraph 263A(f)(4)(C). See Def.’s Cross-Mot. at 35 (characterizing “production
expenditures as equivalent to economic costs”). The government argues that because production
expenditures include all “costs (whether or not incurred during the production period) required to
be capitalized under subsection (a) [of Section 263A] with respect to the property,” it is
appropriate to treat the adjusted basis of the associated property as a “production expenditure”
for interest-capitalization purposes, but only that purpose, because there are certain economic
costs associated with removing the associated property from service. See Def.’s Cross-Mot at 22
(“[W]hen a taxpayer removes a unit of property from service (say, a power generating plant), in
order to improve it, that unit of property is no longer generating revenue to pay down the
taxpayer’s debt. The taxpayer willingly incurs or continues debt as part of the financial
investment in improving the property.”). 10

        Dominion disputes the assertion that the economic cost of removing the property from
service could justify treating the adjusted basis of the associated property as a production

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          To reiterate, the basis would not itself be an “indirect cost[]” capitalized for the
improvement under Subparagraph 263A(a)(2)(B). It would only be involved in capitalizing
interest under Subsection 263A(f).


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expenditure under Subparagraph 263A(f)(4)(C). Pl.’s Reply at 6. Subsection 263A(f) focuses
on the “property” and the costs (“production expenditures”) of producing that property, and
interest is capitalized on an amount of debt equal to that cost. No one has advocated or estimated
“economic cost” to be equal to the adjusted basis of the associated property. For example, if a
taxpayer lost $1,000 of revenue, and perhaps some associated income, because it withdrew from
service a generating unit whose adjusted basis was $100,000, the economic cost of that decision
would be $1,000, not $100,000, and the production expenditures would properly include the
$1,000 figure, not the $100,000 figure, as the “costs.” Alternatively, the loss of revenue, and
perhaps associated income, could be greater than the basis. The government’s variant on an
“economic cost” theory simply is not embedded in the statute.

        The other argument by the government — that the adjusted basis of the associated
property is appropriately viewed as a “cost” because the associated property theoretically could
have been sold at that value, see Def.’s Cross-Mot. at 29, 32, 34 — rests on a strained reading of
Subparagraph 263A(f)(4)(C). As noted earlier, the Treasury Regulation treats costs and the
adjusted basis of associated property as though they were separate items. See Treas. Reg.
§ 1.263A-11(e) (“[A]ccumulated production expenditures with respect to the improvement
consist of — (i) All direct and indirect costs required to be capitalized with respect to the
improvement, (ii) In the case of an improvement to a unit of real property . . . the adjusted basis
of any [associated property].”). Subparagraph 263A(f)(4)(C) includes a parenthetical after the
word “costs” in the definition of production expenditures, stating that such costs appertain
“whether or not incurred during the production period.” Dominion argues that this parenthetical
merely was inserted to acknowledge that some costs of property production are preparatory, such
as meeting with government officials, obtaining building permits, or drafting architectural plans,
and that the parenthetical should not be read as allowing the original cost of acquiring associated
property, reduced by depreciation already taken, to be included as a cost. Pl.’s Mot. at 16-18
(citing Von-Lusk v. Commissioner, 104 T.C. 207 (1995)).

        Drawing these different threads together, associated property is not “required to be
capitalized” under Subsection 263A(a) “with respect to” the improvement, and consequently, the
adjusted basis of associated property does not fit easily within the definition of “production
expenditure” in Subparagraph 263A(f)(4)(C). This presents a problem for the associated-
property rule under Chevron Step One when Subparagraph 263A(f)(4)(C) and Clause
263A(f)(2)(A)(ii) are read together. As previously discussed, Section 263A(f)(2)(A)(ii) “only”
requires interest to be capitalized “to the extent that the taxpayer’s interest costs could have been
reduced if production expenditures . . . had not been incurred.” (emphasis added).

        Nonetheless, the discrepancy arises not because the statutory term “property” could not
be interpreted by Treasury to bundle the improvement with the associated property, but rather
because the Treasury Regulations define and treat the improvement as “property” separate and
apart from the associated property. This inconsistency is an issue that properly should be
addressed under Chevron Step Two, not Chevron Step One.




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       3. The indirect-attribution portion of the interest-capitalization provisions of
          Subsection 263A(f).

        Dominion argues that including the adjusted basis of the associated property, here the
boilers and associated generating equipment, in the amount of debt on which interest must be
capitalized, violates Clause 263A(f)(2)(A)(ii) because the taxpayer’s indebtedness could not
actually have been reduced by the amount of the basis of the associated property if the
improvement project had not occurred. Dominion acquired the generating units for its power
plants before it decided whether or not to install improved burners. Dominion contends that if it
had decided not to install the burners, it still would have owned the generating units, and the
value of the basis of the generating units would not have been available to reduce indebtedness if
the improvement did not occur. In other words, “[t]he adjusted basis of . . . associated
property . . . does not represent funds the taxpayer expended as a result of the taxpayer’s decision
to produce the improvement, but rather funds the taxpayer expended as a result of the prior
decision to the acquire the [associated] property, a decision that was entirely separate and
independent from the later decision to produce [an] improvement, and, for the most part,
[occurred] long before the decision to produce the improvement.” Pl.’s Mot. at 7-8.

        The government argues that the adjusted basis of the associated property could have been
made available to pay down debt if Dominion had sold the generating units instead of improving
them. Def.’s Cross-Mot. at 29. This is, of course, a fiction, given that the generating units in
question are large, immobile parts of large power plants which could not realistically be sold
individually. The government also argues that eliminating the associated-property rule would
reduce tax parity, causing a taxpayer who improved the burners on a newly-acquired generator
before first putting it into service to be treated differently than a taxpayer who removed a
functioning generator from service to improve its burners. Id. at 30-31. This policy argument
has no bearing on Dominion’s claim that the associated-property rule violates Chevron Step One.
Moreover, it ignores the fact that the newly obtained generating unit would not have acquired a
basis in the taxpayer’s hands until it was placed into service by the taxpayer. That event would
not occur in the hypothetical situation until the improvement had been made. Therefore, a
unitary basis for the generating unit and the improvement becomes fully appropriate. See supra,
at 14.

        Nonetheless, the court cannot say that the associated-property rule contradicts the text of
Paragraph 263A(f)(2). Clause 263A(f)(2)(A)(ii) has a tautological aspect — presuming that “if
production expenditures . . . had not been incurred,” the funds that would have been spent on
those “production expenditures” could have been used to reduce taxpayer’s indebtedness. Thus
this provision, read alone, does not present a problem for the associated-property rule under
Chevron.

                              B. Agency Deference — Chevron Step Two

        The second step of the Chevron test, “whether the agency’s answer [to the question at
issue] is based on a permissible construction of the statute,” 467 U.S. at 843, in this instance
essentially reduces to whether the IRS could deem the adjusted basis of associated property to be
a production expenditure for capitalizing interest regarding an improvement under I.R.C.



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§ 263A. The associated-property rule will only be invalidated if it is “arbitrary or capricious in
substance, or manifestly contrary to the statute.” Mayo Found., __ U.S. at __, 131 S.Ct. at 711
(quoting Household Credit Servs., Inc. v. Pfennig, 541 U.S. 232, 242 (2004)) (internal quotations
omitted); see also GHS Health Maint. Org. v. United States, 536 F.3d 1293, 1297 (Fed. Cir.
2008) (Under Chevron Step Two, a regulation “is binding in the courts unless procedurally
defective, arbitrary or capricious in substance, or manifestly contrary to the statute.” (quoting
Mead, 533 U.S. at 227)).

        The structure of Section 263A insofar as capitalization of interest is concerned was
developed by Congress from experience with a predecessor statute, I.R.C. § 189 (1982), and
from consideration of Financial Accounting Standards Board Statement Number 34 (“FAS 34”)
(1979). 11 The Senate Report concerning proposed Section 263A described the premises upon
which the Senate Finance Committee was acting in framing Section 263A:

       The legislative history of amendments to [S]ection 189 indicates
       Congress’ intention that the Treasury Department issue regulations
       allocating interest to expenditures for real property during
       construction consistent with the method prescribed by [FAS 34].
       Under FAS 34, the amount of interest to be capitalized is the
       portion of the total interest expense incurred during the
       construction period that could have been avoided if funds had not
       been expended for construction. Interest expense that could have
       been avoided includes interest costs incurred by reason of
       additional borrowings to finance construction, and interest costs
       incurred by reason of borrowings that could have been repaid with
       funds expended for construction.

S. Rep. No. 99-313, at 140 (1986) (emphasis added) (citing H.R. Rep. No. 97-760, at 485 (1982)
(Conf. Rep.)); see also H.R. Rep. No. 99-426, at 625 (1986) (same). The Senate Report went on
to conclude:

       The committee intends that the determination [under Section 263A]
       of whether debt is incurred or continued to finance the production
       of property will be made under rules similar to those applicable
       under [S]ection 189 . . . . Under these rules, any interest expense
       that would have been avoided if production or construction
       expenditures had been used to repay indebtedness of the taxpayer is
       treated as construction period interest subject to capitalization.
       Accordingly, under the bill, debt that can be specifically traced to
       production or construction expenditures first must be allocated to
       production or construction.       If production or construction
       expenditures exceed the amount of this debt, interest on other debt



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        The text of FAS 34 is attached to the government’s cross-motion for summary
judgment. See Def.’s Cross-Mot. App. B, Ex. 3, at 11-34.


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       of the taxpayer must be treated, to the extent of this excess, as
       production or construction period interest.

S. Rep. No. 99-313, at 144 (1986); see also H.R. Rep. No. 99-426, at 627-28 (1986) (same).

       The House Conference Report elaborated on these premises by setting out a priority-
ordering template, i.e., when there were differences between the avoided-cost method, as
expressed in Section 263A, and the method explained in FAS 34, the statute would control.

       The conferees wish to clarify that the avoided cost method of
       determining the amount of interest allocable to production is
       intended to apply irrespective of whether application of such
       method (or a similar method) is required, authorized, or considered
       appropriate under financial or regulatory accounting principles
       applicable to the taxpayer. Thus, for example, a regulated utility
       company must apply the avoided cost method of determining
       capitalized interest even though a different method is authorized or
       required by Financial Accounting Standards Board Statement 34 or
       the regulatory authority having jurisdiction over the utility. No
       inference is intended that the avoided cost method is not required
       in such circumstances under [S]ection 189 of present law.

H.R. Rep. No. 99-841, at 240 (1986) (Conf. Rep.), 1986 WL 31988.

        Notably, respecting the imputed interest-capitalization issue presented in this case, former
Section 189 required the capitalization of “interest paid or accrued on indebtedness incurred or
continued to acquire, construct, or carry real property, . . . to the extent such interest . . . [was]
attributable to the construction period for such property and would be allowable as a deduction
under this chapter for the taxable year in which paid or accrued (determined without regard for
this section).” I.R.C. § 189(e). Consequently, Section 189 did not require the capitalization of
interest on debt which was not directly related to construction. Additionally, given the relatively
limited scope of Section 189 — interest need only be capitalized “on indebtedness incurred or
continued to acquire, construct, or carry real property” — it is plain that the associated-property
rule would not have been a permissible regulation under Section 189.

        The Treasury proposed regulations for Subsection 263A(f) in 1991. In the preamble to
the proposal, the Treasury espoused fidelity to the interest-capitalization principles expressed in
FAS 34 and former Section 189. See Notice of Proposed Rulemaking – Department of the
Treasury, 56 Fed. Reg. 40815, 40816, 1991 WL 156987 (proposed Aug. 16, 1991) (“The
legislative history [of Subsection 263A(f)] indicates that the avoided cost method is based on
rules similar to those applicable under former [S]ection 189. The legislative history underlying
former [S]ection 189 indicates that the rules contained in [FAS] 34, as amended, apply to the
capitalization of interest under [S]ection 189.” (citing S. Rep. No. 99-313, at 144 (1986); H.R.
Rep. No. 97-760, at 484-85 (1982) (Conf. Rep.)).




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        When in 1994, the Treasury issued final regulations for Section 263A, it retreated from a
full embrace of the principles of FAS 34, despite its role in the legislative history of Section
263A and former Section 189. In the preamble to the final regulations, the Treasury reiterated,
“Congress indicated that it intended interest to be capitalized under the avoided cost method,
using rules similar to those applicable under former [S]ection 189. . . . Former [S]ection 189
applied rules similar to those contained in [FAS 34].” 59 Fed. Reg. 67187, 67190, 1994 WL
16000428 (Dec. 29, 1994) (citations omitted). Nonetheless, although the regulations claimed to
“adopt an approach similar” to the rules in FAS 34, the Treasury was “not persuaded that the
regulations should be changed [based on commentators’ suggestions] to permit the use of the
financial accounting rules of []FAS 34 instead of the avoided cost method in the proposed
regulations.” Id.

        Turning to the specific provision at issue, the regulatory history of the associated-
property rule is sparse. Before regulations were proposed, the IRS issued guidance on how to
comply with Section 263A. See Notice 88-99, 1988-36 I.R.B. 29, 1988-2 C.B. 422, 1988 WL
561191 (Aug. 16, 1988). The IRS’ notice did not introduce the concept of associated property,
instead instructing taxpayers “to include in production expenditures the adjusted bases of
equipment and facilities only to the extent that such equipment and facilities are used in a
reasonably proximate manner to produce the qualified property.” See Notice 88-99, Part IV.C.
Among the items that the notice stated should be included as production expenditures were
“machinery directly used to produce qualified property or components thereof; assembly-line
structures; structures used in the production process; buildings, leaseholds, and improvements
thereon; and other similar types of property.” Id. Excluded were items “not used in a reasonably
proximate manner to produce the qualified property,” including “administrative operations;
personnel operations (i.e., recruiting, hiring, and maintaining personnel records of employees);
purchasing operations; accounting and data services operations; data processing; security
services; and legal departments.” Id.

        A version of the associated-property rule first appeared in the Treasury’s proposed
regulations in 1991. That version provided:

               If an improvement constitutes the production of designated
               property . . . , accumulated production expenditures with
               respect to the improvement consist of all direct and indirect
               costs required to be capitalized with respect to the
               improvement, plus an allocable portion of the cost of
               associated land, plus the adjusted bases of any existing
               structures or common features that directly benefit, or are
               incurred by reason of, the improvement if either they are
               not placed in service or they must be taken out of service to
               complete the improvement, regardless of whether the
               taxpayer intends to sell or use the improvement. For
               example, in the case of an improvement to real property,
               accumulated production expenditures include the direct and
               indirect costs incurred for the improvement, a prorata share
               of the cost of any associated land (including a prorata share



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              of land subject to setback restrictions), plus the adjusted
              basis of any existing structures that are not placed in
              service or that must be taken out of service to complete the
              improvement. In the case of an improvement to a unit of
              tangible personal property, accumulated production
              expenditures include the adjusted basis of the asset being
              improved if that asset either is not placed in service or must
              be taken out of service to complete the improvement,
              regardless of whether the taxpayer intends to sell or use the
              improvement.

Notice of Proposed Rulemaking – Department of the Treasury, 56 Fed. Reg. 40815, 40835
(proposed 26 C.F.R. § 1.263A(f)-4(e)(1)), 1991 WL 156987 (Aug, 16, 1991) (emphasis added).
Although the preamble explains how to apply the associated-property rule, it does not give a
reason for its inclusion. See id. at 40821 (“In addition, the costs of existing property and
common features that benefit or are incurred by reason of the improvement are included in
accumulated production expenditures if they either are not already placed in service or must be
taken out of service in order to complete the improvement, regardless of whether the taxpayer
intends to sell or use the improved property.”).

       The final regulations brought some changes to the associated-property rule and an
expansion of the de minimis rule. They stated:

       (1) General rule. If an improvement constitutes the production of
       designated property under [Treas. Reg. § ] 1.263A-8(d)(3),
       accumulated production expenditures with respect to the
       improvement consist of—
              (i) All direct and indirect costs required to be capitalized
              with respect to the improvement,
              (ii) In the case of an improvement to a unit of real property
                       (A) An allocable portion of the cost of land, and
                       (B) For any measurement period, the adjusted basis
                       of any existing structure, common feature, or other
                       property that is not placed in service or must be
                       temporarily withdrawn from service to complete the
                       improvement (associated property) during any part
                       of the measurement period if the associated
                       property directly benefits the property being
                       improved, the associated property directly benefits
                       from the improvement, or the improvement was
                       incurred by reason of the associated property. See,
                       however, the de minimis rule under paragraph (e)(2)
                       of this section that applies in the case of associated
                       property.
              (iii) In the case of an improvement to a unit of tangible
              personal property, the adjusted basis of the asset being



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               improved if the asset either is not placed in service or must
               be temporarily withdrawn from service to complete the
               improvement.

       (2) De minimis rule. For purposes of paragraph (e)(1)(ii) of this
       section, the total costs of all associated property for an
       improvement unit (associated property costs are excluded from the
       accumulated production expenditures for the improvement unit
       during its production period if, on the date the production period of
       the unit begins, the taxpayer reasonably expects that at no time
       during the production period of the unit will the accumulated
       production expenditures for the unit, determined without regard to
       the associated property costs, exceed 5 percent of the associated
       property costs.

Final Regulations – Department of the Treasury, 59 Fed. Reg. 67187, 67211 (final 26 C.F.R.
§ 1.263A-11(e)), 1944 WL 16000428 (Dec. 29, 1994) (emphasis added).

       The preamble described how to apply the associated-property portion of this rule and
addressed some of the comments submitted during the notice and comment period:

       Commentators indicated that sometimes property must be
       temporarily disconnected or otherwise taken out of service for
       health, safety, or regulatory reasons in order to make certain
       improvements (e.g., a power generating facility must be taken out
       of service in order to make capital improvements). Commentators
       suggested that the regulations provide that property is taken out of
       service only if the property is taken out of service for depreciation
       purposes. The final regulations do not adopt the suggestion
       concerning when property should be considered taken out of
       service. However, the final regulations provide a de minimis rule
       for property taken out of service.

59 Fed. Reg. at 67192-93. The preamble does not explain why the commentators’ suggestion
was rejected. Also, the commentators had implicitly focused on the separate basis of the
associated property by keying their suggestion for revision of the proposal to the depreciation of
that property. However, the commentators did not address the logical antecedent to their
suggestion — i.e., that with the associated-property addendum to the rule, property would be
defined in arguably inconsistent ways — first with relation to the improvement and second with
respect to the associated property.

        Section 263A allowed the Treasury significant discretion to define the breadth of
“property” produced by the taxpayer. See I.R.C. § 263A(b)(1) (“[T]his section shall apply to . . .
[r]eal or tangible personal property produced by the taxpayer.”); I.R.C. § 263A(g)(1) (“The term
‘produce’ includes construct, build, install, manufacture, develop or improve.”). The Treasury
did decide to adopt one moderately expansive approach to property for purposes of Section 263A



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when it bundled components with “functionally interdependent” property placed in service at the
same time. See Treas. Reg. § 1.263A-10(b). Nonetheless, that circumstance was not
problematic because only one capitalization event and accompanying depreciation schedule were
involved. The associated-property rule embodied in Treas. Reg. § 263A-11(e)(1) rests on a split
foundation because the improvement acquires a basis separate from that of the associated
property.

        Consider the requirements of Paragraph 263A(f)(2) and Subparagraph 263A(f)(4)(C).
Clause 263A(f)(2)(A)(ii) requires that “interest on any . . . indebtedness [not directly attributable
to production expenditures] shall be assigned to property to the extent that the taxpayer’s interest
costs could have been reduced if production expenditures . . . had not been incurred.”
Subparagraph 263A(f)(4)(C) defines those production expenditures as “the costs . . . required to
be capitalized under [Subsection 263A(a)] with respect to the property.” If “the property” is the
improvement alone, then, as discussed supra, the adjusted basis of the improvement’s associated
property is not and cannot be a “cost[] . . . required to be capitalized under [Subsection
263A(a)]” with respect to the improvement. 12 The associated property is not re-capitalized due
to the improvement, and no one has ever suggested that it should be.

        To support the exercise of the Treasury’s discretion to adopt Treas. Reg. § 1.263A-
11(e)(1), the government relies heavily on avoided-cost principles. Def.’s Cross-Mot. at 43
(“[T]he associated-property rule is meant to capture the avoided interest costs associated with
taking the unit of property out of service.”); Hr’g Tr. 60:11 to 67:5. This reliance on avoided-
cost principles is consistent with the Senate Report of the bill that produced Section 263A, see
supra, at 18 (quoting S. Rep. No. 99-313, at 144 (1986)), and with the House Conference Report
which gave priority to “appl[ication of] the avoided cost method of determining capitalized
interest even though a different method is authorized or required by [FAS] 34 or the regulatory
authority having jurisdiction.” H.R. Rep. No. 99-841, at 240 (1986) (Conf. Rep.). Moreover,
taking a unit out of service temporarily to make an improvement has an obvious economic cost.
Nonetheless, Dominion contends that the court should look to “what the statute says.” Hr’g Tr.
80:24-25. It criticizes the government for relying on “notions of economics” that have “nothing
to do with this statute.” Hr’g Tr. 81:1, 3

       It is stretching the statute quite far to say that the associated-property rule “is a
‘reasonable interpretation’ of the enacted text [of Section 263A],” Mayo Found., __ U.S. at __,

       12
           To reiterate, Treas. Reg. § 1.263A-11(e) treats the adjusted basis of associated property
as separate from the costs of producing the improvement. See Treas. Reg. § 1.263A-11(e)
(“[A]ccumulated production expenditures with respect to the improvement consist of . . . [a]ll
direct and indirect costs required to be capitalized with respect to the improvement, [and i]n the
case of an improvement to a unit of real property[,] . . .[a]n allocable portion of the cost of land,
and . . . the adjusted basis of any [associated property].”). Because Treas. Reg. § 1.263A-11(e)
excludes the adjusted basis of associated property from the “direct and indirect costs required to
be capitalized with respect to the improvement,” and because the adjusted basis of associated
property is not capitalized under Subsection 263A(a) due to the improvement, the adjusted basis
of associated property cannot be a production expenditure, as defined in Subparagraph
263A(f)(4)(C).


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131 S.Ct. at 714 (quoting Chevron, 467 U.S. at 844), because of the internal inconsistency in
defining “property” for purposes of Treas. Reg. § 263A-11(e)(1). The government’s two
separate rationales for including the basis of associated property in the calculation of imputed
interest to be calculated for an improvement are not very satisfying. Having the interest
calculation on the associated-property basis serve as a surrogate for the lost revenue income
attributable to taking the associated property out of service is at best a very rough approximation.
See supra, at 15-16. Similarly, asserting that the associated property could be sold at a value
equal to its basis, thus making funds available to pay down debt, is both a rough approximation
and removed from reality because the associated property is being improved to continue in
service. See supra, at 16. One might also question the wisdom of including the basis of
associated property in calculating interest to be capitalized for an improvement because that
inclusion constitutes a tax disincentive to making improvements to productive manufacturing
capacity. Nonetheless, it is not this court’s province to be making such policy choices. In this
very close case, the court cannot say that Treasury overstepped the latitude granted by the statute
to adopt regulations prescribing the calculation of interest to be capitalized in connection with an
improvement to existing property used by the taxpayer to produce income. Treas. Reg. § 263A-
11(e)(1) thus survives Dominion’s strong challenge made under Chevron Step Two.

                  II. PROMULGATION OF THE TREASURY RULE

        Dominion also argues that the associated-property rule is invalid because it was adopted
in contravention of the Administrative Procedure Act, which requires the court to “hold unlawful
and set aside agency action, findings, and conclusions found to be . . . arbitrary, capricious, an
abuse of discretion, or otherwise not in accordance with the law.” 5 U.S.C. § 706(2)(A). See
Pl.’s Mot. at 33-39; Pl.’s Reply at 27-29. Relying heavily on Motor Vehicle Mfrs. Ass’n v. State
Farm Mut. Auto. Ins. Co., 463 U.S. 29 (1983), Dominion contends that Treasury “failed to
provide any explanation of the reasoning that led it to adopt the associated[-]property rule.” Pl.’s
Reply at 27.

        State Farm cautions that “[t]he scope of review under the ‘arbitrary and capricious’
standard is narrow and a court is not to substitute its judgment for that of the agency.” 463 U.S.
at 43. “Nevertheless, the agency must examine the relevant data and articulate a satisfactory
explanation for its action, including a ‘rational connection between the facts found and the
choice made.’” Id. (quoting Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)).
In short, an agency “must cogently explain why it has exercised its discretion in a given
manner.” 463 U.S. at 43.

        In this context, a reviewing court “should not attempt itself to make up for [the agency’s]
deficiencies . . . [or] ‘supply a reasoned basis for the agency’s action that the agency itself has
not given.’” State Farm, 463 U.S. at 43 (quoting Securities & Exch. Comm’n v. Chenery, 332
U.S. 194, 196 (1947)). Neither should the court “accept . . . counsel’s post hoc rationalizations
for agency action. . . . [A]n agency’s action must be upheld, . . . on the basis articulated by the
agency itself.” 463 U.S. at 50 (citing Burlington Truck Lines, 371 U.S. at 168; Chenery, 332
U.S. at 196); see also GHS Health Maint. Org., 536 F.3d at 1302 (“It is not our place to
compensate for any deficiencies that may exist with the agency’s proffered explanations. We are
only to evaluate the agency’s stated rationales, not supply our own.”); In re Lee, 277 F.3d 1338,



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1344 (Fed. Cir. 2002) (“Deferential judicial review under the Administrative Procedure Act does
not relieve the agency of its obligation to develop an evidentiary basis for its findings.”).

        “[A] decision of less than ideal clarity” can be upheld “if the agency’s path may
reasonably be discerned.” State Farm, 463 U.S. at 43 (quoting Bowman Transp., Inc. v.
Arkansas-Best Freight Sys., 419 U.S. 281, 286 (1974)). As a general matter, the associated-
property rule was adopted to implement avoided-cost principles. See Notice of Proposed
Rulemaking, 56 Fed. Rep. at 40816 (“Section 263A(f)(2) provides that the avoided cost method
is to be used for determining the amount of interest required to be capitalized.”). Sections of
Treasury’s proposed regulation explained the avoided-cost method without reference to
improvements to existing property. See id. at 40826 (proposed 26 C.F.R. § 1.263A(f)-2). The
topic of “subsequent improvements to real property,” id. at 40821 (heading, capitals omitted),
was addressed separately. There, Treasury noted that “special rules” were being provided. Id.
The Treasury explained that “if a taxpayer purchases an existing building for renovation, the
basis of the building is included in accumulated production expenditures if the building is not
placed in service as a depreciable asset during the renovation (or must be taken out of service
during the renovation).” Id. The circumstance described in the preamble to the proposal appears
to contain elements of both the second and third hypotheticals described by the government’s
counsel during the hearing of the cross-motions, see supra, at 13-14, and thus is not particularly
illuminating regarding application of the property terms in Section 263A. The relevant proposed
rule similarly combined these elements. See 56 Fed. Reg. at 40835 (proposed 26 C.F.R.
§ 1.263A(f)-4(e)(1)) (“[I]n the case of an improvement to a real property, accumulated
production expenditures include . . . the adjusted basis of any existing structures that are not
placed in service or that must be taken out of service to complete the improvement.”).

        Treasury’s approach was clarified somewhat in the final regulations, which split the
treatment of additions into two separate provisions. Treas. Reg. § 1.263A-10(b) addressed
components of real property which are “functionally interdependent” and are treated as one unit
of property where the components are placed in service contemporaneously. See supra, at 14.
Treas. Reg. § 1.263A-11(e) deals with improvements to a property that had been previously
placed in service. The preamble to the final rule commented on the “functionally
interdependent” provision by stating that “Congress repealed former [S]ection 189 (relating to
the capitalization of interest and taxes during the construction period of real property) and
enacted the more expansive, uniform capitalization rules under [S]ection 263A(f).” 59 Fed. Reg.
at 67191. In that same context, the Treasury commented that “Section 263A(f) defines property
uniformly, and therefore[] property in all circumstances includes the functionally interdependent
components of property.” Id. (emphasis added). This latter statement was correct only for Treas.
Reg. § 1.263A-10.

       Treas. Reg. § 1.263A-11(e) was addressed in the preamble to the final rule under the
heading “Improvements to Real Property[:] Property Taken Out of Service.” 59 Fed. Reg. at
67192. There, Treasury addressed commentators’ suggestions that existing property, on which
improvements were being made, be considered as “taken out of service only if the property is
taken out of service for depreciation purposes.” Id. at 67193. As described earlier, Treasury’s
response was to decline to adopt the suggestion but to expand the de minimis exemption. Id.; see
also supra, at 21. Nothing was said about defining “property” in two different ways in Treas.



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Reg. § 1.263A-11(e)(1).

        Here too, it is a stretch to conclude that Treasury “cogently explain[ed] why it has
exercised its discretion in a given manner,” State Farm, 463 U.S. at 48, respecting capitalization
of interest under the associated-property rule of Treas. Reg. § 1.263A-11(e)(1). Treasury did,
however, at least alert interested potential commentators that treatment of the basis of the
property being improved was at issue insofar as capitalization was concerned — and
commentators responded. The lack of analytical precision in the comments and in Treasury’s
response might be problematic insofar as a cogent explanation is concerned, and even confusing
when taken with Treasury’s statement regarding Treas. Reg. § 1.263A-10 that property was
defined uniformly by Subsection 263A(f), but that lack of exactitude and the ensuing confusion
do not signify that Treasury acted to establish the final rule in an arbitrary and capricious
manner. The “path” that Treasury was taking in the rulemaking proceedings can be “discerned,”
albeit somewhat murkily. State Farm, 463 U.S. at 43. Dominion’s challenge to the
promulgation of the final rule based upon the APA is therefore unavailing.

                    III. APPLICATION OF THE DE MINIMIS RULE

         Dominion argues in the alternative that the de minimis rule should be invoked
retroactively, as applied to the Mount Storm project. Prior to the 2007 Settlement, Dominion had
treated 100 percent of the Mount Storm improvement costs as a capital investment. In the 2007
Settlement, Dominion and the IRS agreed that, instead, Dominion would capitalize interest on its
debt equal to 50 percent of the costs of the improvements rather than 100 percent. Am. to Pl.’s
Compl. ¶ 23. Half of the estimated costs of improvements to the Mount Storm project, not
including the adjusted basis of the generating units, would have been $5,513,000.00, which is
less than five percent of the $131,820,854.00 basis in the associated property related to the
project. Therefore, Dominion argues, the Mount Storm project should be subject to the de
minimis rule, Treas. Reg. 1.263-11(e)(2). Id. ¶ 25. The rule excludes associated property costs
“from the accumulated production expenditures for the improvement unit during its production
period if, on the date the production period of the unit begins, the taxpayer reasonably expects
that at no time during the production period of the unit will the accumulated production
expenditures for the unit, determined without regard to the associated property costs, exceed 5
percent of the associated property costs.” Treas. Reg. § 1.263A-11(e)(2).

        The government argues that the de minimis rule cannot be applied retroactively. See
Def.’s Cross-Mot. at 42. Indeed, the rule states that the de minimis rule only applies “if, on the
date the production period of the unit begins, the taxpayer reasonably expects that” the
accumulated production expenditures for the unit will not exceed five percent of the associated
property costs during the production period. Treas. Reg. § 1.263A-11(e)(2) (emphasis added).
There is no allowance, within the rule, for retroactively excluding “costs of all associated
property” from the “accumulated production expenditures” if it later turns out, as here, that the
production expenditures amount to less than five percent of the associated property costs. When
production began, Dominion estimated that its production expenditures for the Mount Storm
project would exceed five percent of the associated property cost. See Stip. ¶ 52 (stating that
Dominion’s production-expenditure projection was $11,026,800.00); Pl.’s Mot. at 40.
Dominion’s claim for the interest allocated to associated property costs for the Mount Storm



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project is therefore denied.

        Dominion is also barred from recovering on its de-minimis-rule claim because of the
“substantial variance” rule. That rule, which arises from I.R.C. § 7422(a) and Treas. Reg.
§ 301.6402-2(b)(1), “bars a taxpayer from presenting claims in a tax refund suit that
‘substantially vary’ the legal theories and factual bases set forth in the tax refund claim presented
to the IRS.” Lockheed Martin, 210 F.3d at 1371 (citing Cook, 599 F.2d at 406). More
specifically, a “legal theory not expressly or impliedly contained in the application for refund
cannot be considered by a court in which a suit for refund is subsequently initiated.” Lockheed
Martin, 210 F.3d at 1371 (quoting Burlington N, 684 F.2d at 868). Dominion does not appear to
have raised its legal theory for refund under the de minimis rule in its original tax refund filings.
See Stip. Ex. 2 at 4 (Form 1120X). Dominion’s refund claim explained,

       [Dominion claims a d]eduction for capitalized interest on
       associated property for certain projects . . . . Detailed information
       has been provided to IRS audit agents. We believe that the
       regulations require that capitalized interest be computed on an
       avoided cost method.

       On August 1, 2002, Dominion Resources . . . received an
       unfavorable Technical Advice Memorandum from the [IRS]
       indicating that when computing capitalized interest on self-
       constructed assets [according to I.R.C. § 263A], property
       temporarily withdrawn from service during construction must be
       taken into account. . . . [Dominion] believes that the Technical
       Advice Memorandum ruling is in error since it does not take into
       account “avoided costs” principles as required by Treas. Reg.
       [§] 1.263A-9 and I.R.C.[§] 263A[](f)(2).

Id. Nowhere in its claim did Dominion argue that it might also be due a refund under the de
minimis rule.

       Dominion bears the burden of establishing that it sufficiently apprised the IRS of the
grounds on which it bases its claims for refund before this court. See Ottawa Silica, 699 F.2d at
1138-39. It has not done so respecting application of the de minimis rule. Consequently, for this
separate additional reason, Dominion cannot invoke the de minimis rule as a basis for recovery.

                                    IV. COUNTERCLAIM

        The government’s counterclaim asserts that “the IRS did not previously capitalize enough
interest on associated property for [Dominion Resources] for the 1996 tax year” and asks for “the
additional tax and interest resulting from the correct calculation of capitalized interest on
associated property.” First Am. Answer and Countercl. ¶¶ 27, 29. Dominion argues that the
counterclaim is improper and that the amount of interest capitalized cannot be revisited because
none of the requirements for reopening the 2007 Settlement have been met. Pl.’s Reply at 30.




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        Prior to the settlement agreement, Dominion argued that replacing the burners in its
generating units should be deductable as a repair, and the IRS argued that the burner
replacements should be capitalized as an improvement. In the 2007 Settlement, the parties
compromised, agreeing that half of the cost of replacing the burners at Possum Point and Mount
Storm could be deducted, and half would be capitalized. The government now argues that it
“[m]istakenly” capitalized half, instead of all, of the interest allocable to the associated property
in the settlement agreement. Def.’s Cross-Mot. at 43. The government notes that “the parties
agreed that with respect to the value of the cost of replacing the existing burners . . . , half would
be considered an immediately deductible expense, and half a capital expenditure. . . . Because
interest on the associated[-]property cost depends on the adjusted basis of the associated
property . . . and not the value of the burner project, the amount of properly capitalizable interest
remains [100 percent of the interest].” Id. (citing Stip. ¶ 36) (emphasis added). The
government’s argument in support of the counterclaim is diametrically opposed to its defense of
the associated-property rule; as the government would have it, the associated-property rule
reflects a “cost” of the improvement project for purposes of Section 263A(f)(4)(C) and Treas.
Reg. § 263A-11(e)(1)(ii)(B), but not for purposes of the 2007 Settlement.

        The 2007 Settlement states that the Commissioner of Internal Revenue can only reopen
the case if there were “fraud, malfeasance, concealment, or misrepresentation of a material fact[,]
an important mistake in mathematical calculation[,] a deficiency or overassessment resulting
from adjustments made under Subchapters C and D of Chapter 63 . . . [, or] an excessive
tentative allowance of a carryback provided by law.” Stip. Ex. 1 at 2.

        The government argues that it is not seeking to “reopen” the 2007 Settlement because
“the amount of capitalized interest required under the associated property regulation was never
settled.” Def.’s Reply at 17. However, the government’s claim is unconvincing. Dominion and
the IRS arrived at an agreement concerning Dominion’s tax liability for 1996. See Stip. Ex. 1 at
1. Dominion reserved the “right to timely file claims for refund or credit . . . for . . . [t]he
amount of interest properly capitalized . . . with respect to ‘associated property,’ as defined in
Treas[.] Reg[.] § 1.263A-11(e).” Id. (emphasis added). The IRS, however, made no reservations
allowing it to seek additional taxes on the amount of interest capitalized with respect to
associated property.

        Accordingly, the only way for the government to require Dominion to capitalize more
interest on its 1996 improvement projects would be if one of the requirements for reopening the
settlement agreement were met. None are. The percentage and amount of interest to deduct and
capitalize were precisely what the parties negotiated. Dominion notes, correctly, that the
government provides no evidence that supports reopening the 2007 Settlement. Pl.’s Reply. at
30. As a result, the court cannot revisit the terms of the parties’ settlement agreement.

      In sum, the 2007 Settlement blocks the government’s counterclaim, and summary
judgment can be and is granted in Dominion’s favor in that regard. See RCFC 56(e)(2).




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                                     CONCLUSION

        For the reasons stated, Dominion’s motion for summary judgment is GRANTED IN
PART and DENIED IN PART. The government’s cross-motion for summary judgment is
similarly GRANTED IN PART and DENIED IN PART.

        Largely because of the 2007 Settlement embodied in the Form 870-AD executed by the
parties and the extensive stipulations of fact, no genuine issues of fact exist requiring trial.
Dominion’s claim for refund based upon disallowance of a deduction for interest computed on
the basis in associated property, as required to be capitalized for improvements made in 1996 to
the Possum Point and Mount Storm generating units under Treas. Reg. § 1.263A-11(e), is
denied, as is the government’s counterclaim based upon reopening the 2007 Settlement because
of an alleged mistake. In essence, the parties are maintained in their current positions.

      The clerk shall enter final judgment for the government on Dominion’s claim and for
Dominion on the government’s counterclaim.

       No costs.

       It is so ORDERED.



                                                 s/ Charles F. Lettow
                                                 Charles F. Lettow
                                                 Judge




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